    Case 2:24-cv-10587-MAG-CI ECF No. 10, PageID.46 Filed 06/12/24 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

SUVARCHALA DEVI CHIRAVURI,

               Plaintiff,                                   Case No. 24-cv-10587

v                                                           HON. MARK A. GOLDSMITH

UNIVERSITY OF MICHIGAN et al.,

            Defendants.
__________________________________/

                                   ORDER OF DISMISSAL

        On June 4, 2024, Plaintiff filed a notice of voluntary dismissal with the Court (Dkt. 9).

Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure provides that a “plaintiff may dismiss

an action without a court order by filing a notice of dismissal before the opposing party serves

either an answer or a motion for summary judgment.” Rule 41 also states that “[u]nless the notice

or stipulation states otherwise, the dismissal is without prejudice.” Fed. R. Civ. P. 41(a)(1)(B).

Because Defendants have not yet served an answer or motion for summary judgment, and because

the notice of dismissal states that the dismissal is without prejudice, the Court hereby orders the

instant action dismissed without prejudice.


        SO ORDERED.


Dated: June 12, 2024                                 s/Mark A. Goldsmith
       Detroit, Michigan                             MARK A. GOLDSMITH
                                                     United States District Judge
